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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                    PLAINTIFF

VS.                                NO. 4:14CR248-2-BSM

CHRISTY DIANE BAKER                                                       DEFENDANT


                                        ORDER

      A hearing was held on July 13, 2015, on Defendant Christy Baker’s motion for

reconsideration of detention pending trial. (Docket entry #282) After consideration of

the evidence presented, the Court grants the motion and orders Ms. Baker released from

custody for immediate placement at the Freedom House in Russellville, Arkansas, for

inpatient drug treatment, followed by a chemical-free living program.

      IT IS SO ORDERED this 14th day of July, 2015.



                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE
